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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                  –Greenbelt Division–

KILMAR ARMANDO ABREGO GARCIA,
ET AL.,

                      Plaintiffs,
                                                     Case No.: 8:25-CV-00951-PX
v.

KRISTI NOEM, ET AL.,

                      Defendants.


                                     [PROPOSED] ORDER

       Upon Plaintiffs’ Emergency Motion for an Order To Return Kilmar Armando Abrego

Garcia to the District of Maryland After Release in the Tennessee Criminal Proceedings, and this

Court’s prior Orders [ECF Nos. 21, 51, 79], it is

       ORDERED THAT, to the extent Defendants detain Abrego Garcia in immigration custody

following his release from confinement in the Tennessee Criminal Proceedings,1 Defendants must

immediately return Abrego Garcia to the District of Maryland; and

       FURTHER ORDERED THAT, Defendants are enjoined from removing Abrego Garcia

from the continental United States or from transferring Abrego Garcia out of the District of

Maryland (other than to travel to the Middle District of Tennessee to participate in the Tennessee

Criminal Proceedings) absent further order of this Court.

       IT IS SO ORDERED

       Dated: June __, 2025                                  /s/
                                                             The Honorable Paula Xinis



1
  See United States v. Abrego Garcia, No. 3:25-cr-00115 (M.D. Tenn.) [hereinafter Tennessee
Criminal Proceedings].
